7 F.3d 223
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lamar Dean HENSLEY, Plaintiff-Appellant,v.Talmadge BARNETT;  W. E. McMichaels;  Eastern CorrectionalInstitution, Defendants-Appellees.
    No. 93-6678.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 21, 1993.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.
      Lamar Dean Hensley, Appellant Pro Se.
      E.D.N.C.
      AFFIRMED.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Lamar Dean Hensley appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hensley v. Barnett, No. CA-93-127-CRT-F (E.D.N.C. Mar. 19, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    